Case 2:OO-Cr-20122-BBD Document 90 Filed 08/03/05 Page 1 of 2 Page|D 125

IN THE UNITED sTATES DISTRICT cOURT le.;¢zf:: ivy/bmi ga
FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA
Plaintiff,

   

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" VWDL;:§H,M;M?HE
vs. cR. No. 2;00-20122-13
wYNTA EARNEST

Defendant.

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ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On August 3, 2005, Wynta Earnest appeared before on a charge
of violation of the terms and Conditions of probation/supervised
release in this matter. The defendant was advised of her rights
under FRCrP 5 and 32.1(a)(1).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant Wynta Earnest is held to a final
revocation hearing, to be set on notice from the United States
District Court and in accordance with the provisions of Rule

32.1(a)(2}, Federal Rules of Criminal Procedure.

IT Is so oRDERED this Q§f$ day of @;£¢ , 2005.
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UNITED STATES MAGISTRATE JUDGE

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with Fiule 55 and/or 32(b) FHCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
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Honorable Bernice Donald
US DISTRICT COURT

